Case 6:24-cv-00357-JDK         Document 12-5      Filed 10/15/24     Page 1 of 1 PageID #: 328

                                     FILED UNDER SEAL


                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISON


  UNITEDHEALTHCARE BENEFITS OF
  TEXAS, INC., et al.,

                 Plaintiffs,

        v.                                                Civil Action No. 6:24-cv-00357-JDK

  CENTERS FOR MEDICARE & MEDICAID
  SERVICES, et al.,


                 Defendants.



      [PROPOSED] ORDER GRANTING PLAINTIFFS MOTION FOR SUMMARY
                             JUDGMENT

        Before the Court is Plaintiffs Motion for Summary Judgment. Having fully considered

 the motion and any opposition thereto, the Court is of the opinion that the motion should be

 GRANTED. It is therefore

        ORDERED that the motion is hereby GRANTED, and that

        1. CMSs decision to include the disputed call (D0800225) in the 2024 Call Center

             Monitoring Performance Metrics for Accuracy and Accessibility Study is

             DECLARED unlawful, and

        2. Defendants shall recalculate Plaintiffs 2025 Star Ratings without consideration of the

             disputed call and shall immediately publish the recalculated Star Ratings in the

             Medicare Plan Finder.

 SO ORDERED.
